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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
GREENVILLE DIVISION

Keith Barfield, as Personal
Representative of the Estate of
Allson Barfield,

Plaintiff, ORDER

VS. C.A. No. 6:04-1260-13
Choice Hotels International, Inc.,
R.G. Hospitality, LLC, and
Greenville Hotel Partners, Inc.,
Ronald Gedda and R.G.
Properties, Inc.,

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Defendants.

This matter is before the court on the verified petition of Keith Barfield, as
Personal Representative of the Estate of Allison Barfield, deceased, in which the said
Keith Barfield asks this court’s approval of a proposed compromise and settlement of
any and all claims under both the Wrongful Death Act and the Survival Statute which
he, as personal representative of the Estate of Keith Barfield, deceased, might have

against R.G. Hospitality, LLC, Greenville Hotel Partners, Inc., d/b/a The Comfort Inn,

R.G., Properties, LLC, Ronald Gedda, Ohio Casualty Insurance Company and West
American Insurance Company as well as all claims against Choice Hotels International,

Inc. except those expressly preserved in the settlement agreement, waiver and release

executed in connection with this settlement for the death of the said Alison Barfield
allegedly resulting from an incident which occurred on or about January 25, 2004 at the
Comfort Inn located at 831 Congaree Road in Greenville, South Carolina.

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This action was originally filed in the United States District Court for the District
of South Carolina, Greenville Division. Jurisdiction of this matter has been ceded, for
purposes of approval of the settlement identified herein, to the Greenville County Court
of Common Pleas by order of United States District Judge Henry M. Herlong, Jr. dated
April 25, 2007. The terms of this order are incorporated herein by reference.

A full hearing was held on this matter on the 25th day of May, 2007, attended by
Robert P. Foster of The Foster Law Firm, L.L.P., attorneys for the plaintiff; by Phillip E.
Reeves of the firm Gallivan, White & Boyd, P.A., attorneys for the defendants, R.G.
Hospitality, LLC, Greenville Hotel Partners, Inc., d/b/a The Comfort Inn and Ronald
Gedda; and G.D. Morgan, Jr. of the firm McAngus, Goudelock & Courie, LLC, attorneys
for the defendant, R.G. Properties, LLC.

A full and careful examination was made of the said Robert P. Foster in which he
stated freely and unequivocally that he and Mr. Barfield understood the settlement
proposals as outlined in his verified petition, and Mr. Barfield desired that the court
approve the settlements with the knowledge and understanding that upon approval and
consummation of the settlements, no persons would have any further claims or causes of
action against R.G. Hospitality, LLC, Greenville Hotel Partners, Inc., d/b/a The Comfort
Inn, R.G. Hospitality, LLC, Ronald Gedda or Choice Hotels International, Inc. on
account of the death of the said Allison Barfield, deceased, except those claims against

Choice Hotels International, Inc. expressly preserved in the settlement agreement, waiver

and release executed in connection with this settlement.
It appears that the total settlement proceeds paid by Ohio Casualty Insurance
Company and West American Insurance Company in payment of all claims arising out

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the incident giving rise to this case were deposited into a qualified settlement fund and
are being disbursed in connection with proceedings established therein. Under the
procedure established therein, Mr. Barfield has been awarded certain sums in full
settlement of both the wrongful death and survival claims. It further appears that the
settlement proceeds being paid in settlement of all claims under the Wrongful Death Act
and being paid in settlement of all claims under the Survival Act, are full and adequate
settlements under the facts and circumstances and that the petitioner would not be
warranted in risking an adverse result in litigation in order to seek a higher sum.

Upon consideration of the verified petition of the said Keith Barfield and based on
the examination in the testimony obtained by this court, this court is fully satisfied and
concludes that the proposed settlement is reasonable and proper and in the best interests
of both the statutory beneficiaries and the estate of the said Allison Barfield, deceased,
and should be approved.

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED:

1. That the court does hereby expressly approve the settlement proposal as
set forth in the verified petition of Keith Barfield dated May 25, 2007;

2. That the funds paid into the qualified settlement fund and allocated to
Keith Barfield, as Personal Representative of the Estate of Allison Barfield, deceased, be
disbursed to him in compliance with § 15-51-10 and § 15-5-90 of the 1976 Code of Laws

of South Carolina, as amended;

3. That Keith Barfield, as Personal Representative of the Estate of Allison
Barfield, deceased, be, and he is hereby authorized and directed for the consideration

outlined above, to execute and deliver on behalf of the estate and statutory beneficiaries

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of Allison Barfield, deceased, a settlement agreement, waiver and release in writing to
R.G. Hospitality, LLC, Greenville Hotel Partners, Inc., d/b/a The Comfort Inn, R.G.
Properties, LLC, Ronald Gedda, Choice Hotels International, Inc. except as to those
claims expressly preserved in the settlement agreement, waiver and release, as against it,
Ohio Casualty Insurance Company, West American Insurance Company and their heirs,
personal representatives, successors, and assigns, releasing them and any other persons,
firms, corporations or governmental entities of and from any claims of any nature and
kind arising out of, or in any way connected with the alleged wrongful death and
conscious pain and suffering of the said Allison Barfield, as a result of her death
occurring on or about January 25, 2004;

4. That a copy of the settlement agreement, waiver and release (more fully
described in paragraph 3 above) be incorporated herein and made a part of this order;
and

5. That any and all responsibility for satisfying any liens, including any
Medicare liens, shall rest solely with the plaintiff and his counsel and that neither R.G.

Hospitality, LLC, Greenville Hotel Partners, Inc., d/b/a The Comfort Inn, R.G.

Properties, LLC, Ronald Gedda, Ohio Casualty Insurance Company nor West American
Insurance Company shall] have any responsibility therefor.
6. That concurrently herewith, plaintiff's counsei shall execute a stipulation

of dismissal wherein all claims against all defendants are dismissed with prejudice with

the exception of those claims against Choice Hotels International, Inc. which are

expressly preserved in the settlement agreement, waiver and release and unaffected by

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this settlement, which stipulation of dismissal shall be filed and conclude all settled
claims.

IT IS FURTHER ORDERED that out of the total settlement proceeds Keith
Barfield, as Personal Representative of the Estate of Allison Barfield, deceased, pay to
Kilpatrick Stockton LLP attorneys’ fees in the amount of one-third (1/3) of the total
settlement proceeds, plus costs in the amount of Eleven Thousand Two Hundred Seventy
and 00/100 ($11,270.00) Dollars.

IT IS SO ORDERED.

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Judge, Greenville County Court of
Common Pleas

Greenville, South Carolina

May AS, 2007

